            Case 1:21-cv-06289-AKH Document 1 Filed 07/23/21 Page 1 of 9




                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

 MATTHEW WHITFIELD,                                  )
                                                     )
                         Plaintiff,                  )
                                                     )   Case No. ___________
         v.                                          )
                                                     )   JURY TRIAL DEMANDED
 LYDALL INC., MARC T. GILES, SARA A.                 )
 GREENSTEIN, DAVID G. BILLS, JAMES                   )
 J. CANNON, PAUL W. GRAVES,                          )
 SUZANNE HAMMETT, and KATHERINE                      )
 C. HARPER,                                          )
                                                     )
                         Defendants.                 )

  COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

       Plaintiff, by his undersigned attorneys, for this complaint against defendants, alleges upon

personal knowledge with respect to himself, and upon information and belief based upon, inter

alia, the investigation of counsel as to all other allegations herein, as follows:

                                      NATURE OF THE ACTION

       1.      This action stems from a proposed transaction announced on June 21, 2021 (the

“Proposed Transaction”), pursuant to which Lydall Inc. (“Lydall” or the “Company”) will be

acquired by Unifrax I LLC (“Unifrax”), Unifrax Holding Co. (“Parent”), and Outback Merger Sub,

Inc. (“Merger Sub”).

       2.      On June 21, 2021, Lydall’s Board of Directors (the “Board” or “Individual

Defendants”) caused the Company to enter into an agreement and plan of merger (the “Merger

Agreement”) with Unifrax, Parent, and Merger Sub. Pursuant to the terms of the Merger

Agreement, Lydall’s stockholders will receive $62.10 in cash for each share of Lydall common

stock they own.
            Case 1:21-cv-06289-AKH Document 1 Filed 07/23/21 Page 2 of 9




       3.      On July 21, 2021, defendants filed a proxy statement (the “Proxy Statement”) with

the United States Securities and Exchange Commission (the “SEC”) in connection with the

Proposed Transaction.

       4.      The Proxy Statement omits material information with respect to the Proposed

Transaction, which renders the Proxy Statement false and misleading. Accordingly, plaintiff

alleges herein that defendants violated Sections 14(a) and 20(a) of the Securities Exchange Act of

1934 (the “1934 Act”) in connection with the Proxy Statement.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the claims asserted herein pursuant to Section 27

of the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the 1934

Act and Rule 14a-9.

       6.      This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       7.      Venue is proper under 28 U.S.C. § 1391(b) because a portion of the transactions

and wrongs complained of herein occurred in this District.

                                             PARTIES

       8.      Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of Lydall common stock.

       9.      Defendant Lydall is a Delaware corporation and a party to the Merger Agreement.

Lydall’s common stock is traded on the New York Stock Exchange, which is headquartered in

New York, New York, under the ticker symbol “LDL.”




                                                  2
           Case 1:21-cv-06289-AKH Document 1 Filed 07/23/21 Page 3 of 9




         10.    Defendant Marc T. Giles is Chairman of the Board of the Company.

         11.    Defendant Sara A. Greenstein is President, Chief Executive Officer, and a director

of the Company.

         12.    Defendant David G. Bills is a director of the Company.

         13.    Defendant James J. Cannon is a director of the Company.

         14.    Defendant Paul W. Graves is a director of the Company.

         15.    Defendant Suzanne Hammett is a director of the Company.

         16.    Defendant Katherine C. Harper is a director of the Company.

         17.    The defendants identified in paragraphs 10 through 16 are collectively referred to

herein as the “Individual Defendants.”

                                SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

         18.    Lydall delivers value-added engineered materials and specialty filtration solutions

that promote a cleaner, safer, and quieter world.

         19.    With global manufacturing operations, Lydall partners with customers to develop

bespoke, high-performing, and efficient solutions that are adaptable and scalable to meet their

needs.

         20.    On June 21, 2021, Lydall’s Board caused the Company to enter into the Merger

Agreement.

         21.    Pursuant to the terms of the Merger Agreement, Lydall’s stockholders will receive

$62.10 in cash per share.

         22.    According to the press release announcing the Proposed Transaction:

         Unifrax, a leading global provider of high-performance specialty materials focused
         on thermal management, specialty filtration, battery materials, emission control and



                                                    3
          Case 1:21-cv-06289-AKH Document 1 Filed 07/23/21 Page 4 of 9




       fire protection applications backed by Clearlake Capital Group, L.P. (“Clearlake”),
       today announced it has signed definitive agreements to acquire Lydall, Inc. (NYSE:
       LDL, “Lydall” or the “Company”), a leader in the design and production of
       specialty filtration materials and advanced material solutions. With its leading
       technologies and 23 manufacturing facilities around the world, Lydall is well
       positioned to capitalize on growth in clean air filtration and electric vehicle
       adoption, among many other attractive markets. Under the terms of the agreement,
       Lydall shareholders will receive $62.10 per share in cash for each share
       outstanding, implying a total enterprise value of approximately $1.3 billion. . . .

       Advisors

       Morgan Stanley & Co. LLC acted as lead financial advisor, J.P. Morgan acted as
       financial advisor, and Kirkland & Ellis acted as legal counsel to Unifrax in the
       transaction. BofA Securities is acting as exclusive financial advisor, and Davis
       Polk & Wardwell LLP is acting as legal counsel to Lydall in connection with the
       transaction.

       Approvals and Timing

       The transaction, which has been approved by the boards of directors of both
       companies, is expected to close in the second half of 2021 subject to the receipt of
       required regulatory approvals, approvals of Lydall stockholders and other
       customary closing conditions

The Proxy Statement Omits Material Information, Rendering It False and Misleading

       23.     Defendants filed the Proxy Statement with the SEC in connection with the Proposed

Transaction.

       24.     As set forth below, the Proxy Statement omits material information.

       25.     First, the Proxy Statement omits material information regarding the Company’s

financial projections.

       26.     With respect to the Company’s financial projections, the Proxy Statement fails to

disclose: (i) all line items used to calculate the projections; and (ii) a reconciliation of all non-

GAAP to GAAP metrics.

       27.     The disclosure of projected financial information is material because it provides

stockholders with a basis to project the future financial performance of a company, and allows



                                                 4
            Case 1:21-cv-06289-AKH Document 1 Filed 07/23/21 Page 5 of 9




stockholders to better understand the financial analyses performed by the company’s financial

advisor in support of its fairness opinion.

       28.     Second, the Proxy Statement omits material information regarding the analyses

performed by the Company’s financial advisor, BofA Securities (“BofA”).

       29.     With respect to BofA’s Selected Public Companies Analysis, the Proxy Statement

fails to disclose the individual multiples and metrics for the companies observed by BofA in the

analysis.

       30.     With respect to BofA’s Selected Precedent Transactions Analysis, the Proxy

Statement fails to disclose the individual multiples and metrics for the transactions observed by

BofA in the analysis.

       31.     With respect to BofA’s Discounted Cash Flow Analysis, the Proxy Statement fails

to disclose: (i) the terminal values; (ii) the individual inputs and assumptions underlying the

discount rates; (iii) BofA’s basis for selecting the multiples used in the analysis; and (iv) all line

items used to calculate unlevered free cash flow.

       32.     With respect to BofA’s analysis of price targets, the Proxy Statement fails to

disclose: (i) the price targets observed in the analysis; and (ii) the sources thereof.

       33.     When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed.

       34.     The omission of the above-referenced material information renders the Proxy

Statement false and misleading.

       35.     The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s stockholders.




                                                   5
          Case 1:21-cv-06289-AKH Document 1 Filed 07/23/21 Page 6 of 9




                                             COUNT I

     Claim for Violation of Section 14(a) of the 1934 Act and Rule 14a-9 Promulgated
               Thereunder Against the Individual Defendants and Lydall

       36.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       37.     The Individual Defendants disseminated the false and misleading Proxy Statement,

which contained statements that, in violation of Section 14(a) of the 1934 Act and Rule 14a-9, in

light of the circumstances under which they were made, omitted to state material facts necessary

to make the statements therein not materially false or misleading. Lydall is liable as the issuer of

these statements.

       38.     The Proxy Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual Defendants

were aware of this information and their duty to disclose this information in the Proxy Statement.

       39.     The Individual Defendants were at least negligent in filing the Proxy Statement

with these materially false and misleading statements.

       40.     The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder will consider them important in deciding how to vote on

the Proposed Transaction. In addition, a reasonable investor will view a full and accurate

disclosure as significantly altering the total mix of information made available in the Proxy

Statement and in other information reasonably available to stockholders.

       41.     The Proxy Statement is an essential link in causing plaintiff to approve the Proposed

Transaction.

       42.     By reason of the foregoing, defendants violated Section 14(a) of the 1934 Act and

Rule 14a-9 promulgated thereunder.




                                                  6
          Case 1:21-cv-06289-AKH Document 1 Filed 07/23/21 Page 7 of 9




       43.     Because of the false and misleading statements in the Proxy Statement, plaintiff is

threatened with irreparable harm.

                                             COUNT II

                        Claim for Violation of Section 20(a) of the 1934 Act
                                Against the Individual Defendants

       44.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       45.     The Individual Defendants acted as controlling persons of Lydall within the

meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of their positions as officers

and/or directors of Lydall and participation in and/or awareness of the Company’s operations

and/or intimate knowledge of the false statements contained in the Proxy Statement, they had the

power to influence and control and did influence and control, directly or indirectly, the decision

making of the Company, including the content and dissemination of the various statements that

plaintiff contends are false and misleading.

       46.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement alleged by plaintiff to be misleading prior to and/or shortly after

these statements were issued and had the ability to prevent the issuance of the statements or cause

them to be corrected.

       47.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control and influence the particular transactions giving rise to the violations as alleged

herein, and exercised the same. The Proxy Statement contains the unanimous recommendation of

the Individual Defendants to approve the Proposed Transaction. They were thus directly involved

in the making of the Proxy Statement.




                                                  7
            Case 1:21-cv-06289-AKH Document 1 Filed 07/23/21 Page 8 of 9




       48.     By virtue of the foregoing, the Individual Defendants violated Section 20(a) of the

1934 Act.

       49.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) of the 1934 Act and

Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions as controlling

persons, these defendants are liable pursuant to Section 20(a) of the 1934 Act. As a direct and

proximate result of defendants’ conduct, plaintiff is threatened with irreparable harm.

                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Directing the Individual Defendants to disseminate a Proxy Statement that does not

contain any untrue statements of material fact and that states all material facts required in it or

necessary to make the statements contained therein not misleading;

       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act, as

well as Rule 14a-9 promulgated thereunder;

       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff hereby requests a trial by jury on all issues so triable.




                                                   8
        Case 1:21-cv-06289-AKH Document 1 Filed 07/23/21 Page 9 of 9




Dated: July 23, 2021                     RIGRODSKY LAW, P.A.

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                                     9
